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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

 

 

 

FITNESS ANYWHERE LLC, Case No. 5:14-ev-01725 BLF
Plaintiff, JURY VERDICT FORM
Vv. Hon. Beth Labson Freeman
WOSS ENTERPRISES LLC,
Defendant.
INSTRUCTIONS

When answering the following questions and filling out this Verdict Form, please follow
the directions provided throughout the form. Your answer to each question must be unanimous.
Some of the questions contain legai terms that are defined and explained in detail in the Jury
Instructions. Please refer to the Jury Instructions if you are unsure about the meaning or usage of
any legal term that appears in the questions below.

We, the jury, unanimously agree to the answers to the following questions and return them

under the instructions of this court as our verdict in this case.

 

 
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FINDINGS ON PATENT INFRINGEMENT CLAIM
1. Has Fitness Anywhere proven by a preponderance of the evidence that every
requirement of claim 1 of the ‘896 patent is included in WOSS Enterprises’s accused products?

Yes VS No

If your answer to question | is “yes,” go to question 2. If your answer to question | is

“no,” go to question 4.

2. Has the Fitness Anywhere proven by a preponderance of the evidence that WOSS

Enterprises engaged in willful infringement of the ‘896 patent?

Yes VS No

FINDINGS ON PATENT DAMAGES (IF APPLICABLE)
If you answered “yes” to question 1, proceed to answer questions 3(a) and 3(b). If you

answered “no” to question I, proceed to question 4.

3(a). What lost profits, if any, did Fitness Anywhere prove by a preponderance of the
evidence that Fitness Anywhere suffered as a result of sales it would, with reasonable probability,

have made but for WOSS Enterprise’s infringement?

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3(b). What amount, if any, has Fitness Anywhere proved by a preponderance of the

evidence it is entitled to as a reasonable royalty?
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Go to question 4,

 

 

 
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FINDINGS ON TRADEMARK INFRINGEMENT CLAIMS
4. Has Fitness Anywhere proven by a preponderance of the evidence that WOSS
Enterprises infringed Fitness Anywhere’s “Suspension Training” trademark?
Yes WA No

If your answer to question 4 is “yes,” go to question 5. If your answer to question 4 is

“no,” proceed to question 8.

5. Has WOSS Enterprises proven by a preponderance of the evidence that:
(a) WOSS’s use of the words “Suspension Trainer” or “suspension trainer”
was a “fair use” of Fitness Anywhere’s “Suspension Training” trademark?
Yes No WwW. .
(b) WOSS’s use of the words “Suspension Training” or “suspension training”
was a “fair use” of Fitness Anywhere’s “Suspension Training” trademark?
Yes, No VY.
If your answer to either question 5(a) or 5(b) is “no,” go to question 6. If your answer to

both question 5(a) and 5(b) is “yes,” go to question 8.

6. Has Fitness Anywhere proven by a preponderance of the evidence that WOSS

Enterprises engaged in willful infringement of the Fitness Anywhere’s “Suspension Training”

Yes S No

If your answer to question 6 is “yes,” go to question 7. If your answer to question 6 is

trademark:

“no,” go to question 8.

 

 
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7. What amount, if any, has Fitness Anywhere proved by a preponderance of the
evidence it is entitled to as damages due to WOSS Enterprises’s infringement of Fitness
Anywhere’s “Suspension Training” trademark?

5 S20 YLO

Go to question 8.

 

8. Has Fitness Anywhere proven by a preponderance of the evidence that WOSS
Enterprises infringed Fitness Anywhere’s “Suspension Training” and/or “Fitness Anywhere”

trademarks through WOSS Enterprises’s use of “Suspension Fitness”?

Yes No SS

If your answer to question 8 is “yes,” go to question 9. If your answer to question 8 is

“no,” go to question 11.

9. Has Fitness Anywhere proven by a preponderance of the evidence that WOSS
Enterprises engaged in willful infringement of Fitness Anywhere’s “Suspension Training” and/or
“Fitness Anywhere” trademarks through WOSS Enterprises’s use of “Suspension Fitness”?

Yes No

If your answer to question 9 is “yes,” go to question 10. If your answer to question 9 is

“no,” go to question 11.

10. What amount, if any, has Fitness Anywhere proved by a preponderance of the
evidence it is entitled to as damages due to WOSS Enterprises’s infringement of “Suspension
Training” and/or “Fitness Anywhere” trademarks through WOSS Enterprises’s use of

“Suspension Fitness”?

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FINDINGS ON UNFAIR COMPETITION CLAIM
il. On Fitness Anywhere’s unfair competition claim, did Fitness Anywhere prove by
a preponderance of the evidence that WOSS Enterprises unfairly competed with Fitness

Anywhere?
Yes No WA

 

You have now reached the end of the verdict form and should review it to ensure it
accurately reflects your unanimous determinations. The Presiding Juror should then sign and date
the verdict form in the spaces below and notify the Security Guard that you have reached a
verdict. The Presiding Juror should retain possession of the verdict form and bring it when the

jury is brought back into the courtroom.

 

 

 

By: J li. eee Ae ( lic

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Presiding Juror

 

 

 
